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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SOUTHEASTERN PENNSYLVANIA                       :             CIVIL ACTION
TRANSPORTATION AUTHORITY, et al.                :
                                                :
     v.                                         :
                                                :
GILEAD SCIENCES, INC.                           :             NO. 14-6978

                                              ORDER

               AND NOW, this 4th day of May, 2015, upon consideration of plaintiffs’ amended

complaint (docket entry #9), defendant Gilead Sciences, Inc.’s motion to dismiss for failure to

state a claim (docket entry #16), plaintiffs’ response in opposition thereto, defendant’s reply,

plaintiffs’ motion for leave to file a sur-reply (docket entry #20), defendant’s opposition thereto,

and Ronald A. Williams’s pro se motion to intervene (docket entry #22), and for the reasons set

forth in our Memorandum issued this day on this case, it is hereby ORDERED that:

               1.      Plaintiffs’ motion to file a sur-reply (docket entry #20) is GRANTED;

               2.      Defendant’s motion to dismiss (docket entry #16) is GRANTED;

               3.      Plaintiffs’ amended complaint (docket entry #9) is DISMISSED;

               4.      Ronald A. Williams’s pro se motion to intervene (docket entry #22) is

DENIED AS MOOT; and

               5.      The Clerk of Court shall CLOSE this case statistically.


                                                              BY THE COURT:


                                                              _/s/ Stewart Dalzell, J.
                                                              Stewart Dalzell, J.
